Case 1:15-cv-00322-JMS-RLP Document 69-7 Filed 09/25/15 Page 1 of 8 PageID.467



 WALTER R. SCHOETTLE, A LAW CORP.

 WALTER R. SCHOETTLE 1559
 1088 Bishop St., Suite 1304
 P. O. Box 596
 Honolulu, Hawaii 96809-0596
 Telephone: 537-3514
 Fax: 924-1548
 email: papaaloa@umich.edu

 Attorney for Intervenor-Defendants
 SAMUEL L. KEALOHA, JR., et al.

               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAII

 KELI’I AKINA, et al.,           B Case 1:15-CV-00322-JMS-BMK
                                  .
        Plaintiffs,               .
                                  . CROSSCLAIM
                   v.           C
                                  .
 STATE OF HAWAII, et al.,         .
                                  .
      Defendants,                 .
                                  .
        and                       .
                                  .
 SAMUEL L. KEALOHA, JR., VIRGIL .
 E. DAY, JOSIAH L. HOOHULI, .
 PATRICK L. KAHAWAIOLAA and .
 MELVIN HOOMANAWANUI,             .
                                  .
                                  .
                                D
       Intervenor-Defendants.



                                      1

                            Exhibit "B"
                                                                  Exhibit B, p. 001
Case 1:15-cv-00322-JMS-RLP Document 69-7 Filed 09/25/15 Page 2 of 8 PageID.468



                                 CROSSCLAIM

       Come now Intervenor-Defendants, SAMUEL L. KEALOHA, JR., VIRGIL E.

 DAY, JOSIAH L. HOOHULI, PATRICK L. KAHAWAIOLAA and MELVIN

 HOOMANAWANUI,           through   their       undersigned   counsel,   pursuant   to

 Fed.R.Civ.Proc., Rule 13(g), and for crossclaim against Defendants, DAVID Y. IGE,

 in his official capacity as Governor of the State of Hawaii; ROBERT K. LINDSEY

 JR., Chairperson, Board of Trustees, Office of Hawaiian Affairs, in his official

 capacity; COLETTE Y. MACHADO, PETER APO, HAUNANI APOLIONA,

 ROWENA M.N. AKANA, JOHN D. WAIHE’E IV, CARMEN HULU LINDSEY,

 DAN AHUNA, LEINA’ALA AHU ISA, Trustees, Office of Hawaiian Affairs, in

 their official capacities; KAMANA’ OPONO CRABBE, Chief Executive Officer,

 Office of Hawaiian Affairs, in his official Capacity; JOHN D. WAIHE’E III,

 Chairman, Native Hawaiian Roll Commission, in his official Capacity; NÃ’ÃLEHU

 ANTHONY, LEI KIHOI, ROBIN DANNER, also known as ROBIN PUANANI

 DANNER, MÃHEALANI WENDT, also known as MÃHEALANI                           PEREZ-

 WENDT, Commissioners, Native Hawaiian Roll Commission, in their official

 capacities; CLYDE W. NÃMU’O, Executive Director, Native Hawaiian Roll

 Commission, in his official capacity; THE AKAMAI FOUNDATION; and THE

 NA’I AUPUNI FOUNDATION, allege and aver as follows:

                                           2



                                                                         Exhibit B, p. 002
Case 1:15-cv-00322-JMS-RLP Document 69-7 Filed 09/25/15 Page 3 of 8 PageID.469



                                   JURISDICTION

       1. Jurisdiction of this Court is invoked pursuant to Title 28 U.S.C. § 1343.

 This is a claim seeking relief under Title 42 U.S.C. § 1983 and Title 28 U.S.C.

 § 2201. The rights sought to be secured in this claim are rights of Intervenor-

 Defendants as native Hawaiian special beneficiaries of the compact and trust imposed

 by §§ 4 and 5(f), Act of March 18, 1959, Pub.L. 86-3, 73 Stat. 4 (Admission Act)

 upon certain lands granted by the United States to the State of Hawaii by §§ 5(b) and

 5(e) of the Admission Act and as beneficiaries of the Hawaiian Homes Commission

 Act, 1920, Pub.L. 67-34, 42 Stat. 108 (1921), as amended (“HHCA”).

                                      PARTIES

       2. Intervenor-Defendants are all native Hawaiians (“native Hawaiians”) as

 defined by § 201(a) of HHCA, in that they are all descendants of not less than one-

 half part of the blood of the races inhabiting the Hawaiian Islands, prior to 1778.

 Hereafter the term “native Hawaiians” refers to aboriginal Hawaiians with not less

 than one-half part of the blood. The term “Hawaiians” refers to aboriginal Hawaiians

 without regard to blood quantum. The term “non-native Hawaiians” refers to

 Hawaiians with less than one-half part of the blood.

       3. Defendant, DAVID Y. IGE, is the duly elected and acting governor of the

 State of Hawaii, being sued herein in his said official capacity, for declaratory and

 prospective injunctive relief.

                                          3

                                                                          Exhibit B, p. 003
Case 1:15-cv-00322-JMS-RLP Document 69-7 Filed 09/25/15 Page 4 of 8 PageID.470



       4. Defendant ROBERT K. LINDSEY JR., is the Chairperson of the Board of

 Trustees of the Office of Hawaiian Affairs (“OHA”), and is being sued in his official

 capacity. OHA is a department of the State of Hawaii, and has basic responsibilities

 relating to the maintenance of a Roll of Hawaiians eligible to vote in an election

 (“Hawaiian Election”) as provided by Act 195, 2011 Legislative Session (codified in

 chapter 10H, Hawaii Revised Statutes) (“Act 195"), §§ 4 and 5, including, but not

 limited to, responsibility for funding the Native Hawaiian Roll Commission

 (“NHRC”) and for cooperating with it in the performance of its duties.

       5. Defendants COLETTE Y. MACHADO, PETER APO, HAUNANI

 APOLIONA, ROWENA M.N. AKANA, JOHN D. WAIHE’E IV, CARMEN HULU

 LINDSEY, DAN AHUNA, and LEINA’ALA AHU ISA are the other Trustees of

 OHA. Defendant KAMANA’OPONO CRABBE is the Chief Executive Officer of

 OHA. These defendants are being sued in their official capacities.

       6. Defendant JOHN D. WAIHE’E III is the Chairman of the NHRC, and is

 being sued in his official capacity. The NHRC was established by Act 195 to be the

 agency most directly responsible for preparing and maintaining the Roll and for

 certifying that voters who register for the Roll meet its requirements. H.R.S. § 10H-3.

       7. Defendant NÃ’ÃLEHU ANTHONY is the Vice-Chairman and a

 Commissioner, and Defendants LEI KIHOI, ROBIN DANNER, AND MAHEALANI

 WENDT are the other Commissioners, of the NHRC. Defendant CLYDE W.

                                           4

                                                                           Exhibit B, p. 004
Case 1:15-cv-00322-JMS-RLP Document 69-7 Filed 09/25/15 Page 5 of 8 PageID.471



 NÃMU’O is the Executive Director of the NHRC. These defendants are being sued

 in their official capacities.

        8. Defendant THE AKAMAI FOUNDATION (“AF”) is, on information and

 belief, a 501(c)(3) nonprofit organization existing under the laws of the State of

 Hawaii, with its principal place of business in the District of Hawaii. AF has entered

 into contracts with OHA and THE NA’I AUPUNI FOUNDATION pursuant to which

 OHA agreed to provide about $2.6 million to AF, which AF in turn agreed to grant

 to THE NA’I AUPUNI FOUNDATION to conduct the Hawaiian Election in which

 voters registered on the Roll will elect delegates to a constitutional convention.

        9. Defendant THE NA’I AUPUNI FOUNDATION (“NAF”) is, on information

 and belief, a domestic, nonprofit organization, with its principal place of business in

 the District of Hawaii. On information and belief, NAF was created for the sole

 purpose of conducting the Hawaiian Election in which those voters who are

 registered on the Roll will elect delegates to a constitutional convention to draft a

 constitution for a Hawaiian Governing Entity, as provided by Act 195 (“Entity”).

                                     CROSSCLAIM

        10. Crossclaim Defendants are using income and proceeds from the trust

 established by § 5(f) of the Hawaii Admission Act for the purpose of conducting the

 Hawaiian Election of delegates to a constitutional convention for the Entity as

 authorized by Chapter 10H of the Hawaii Revised Statutes.

                                           5

                                                                           Exhibit B, p. 005
Case 1:15-cv-00322-JMS-RLP Document 69-7 Filed 09/25/15 Page 6 of 8 PageID.472



       11. The purpose of this Entity as set forth in H.R.S. § 10H-2 is, in part, to deal

 “matters pursuant to law that relate, or affect ownership, possession, or use of lands”

 by Hawaiian people.

       12. The Entity is intended for Hawaiians to analogous to and serve a similar

 function as a recognized tribal status for Indians .

       13. Act 195 and Chapter 10H do not impose any blood quantum as a

 qualification for participation in the election and Entity.

       14. Under federal law, only Indians having at least one-half part Indian blood

 are permitted to seek recognition with the U.S. Department of the Interior as an

 Indian tribe.

       15. Under federal law, once established an Indian tribe has authority to set for

 itself the requirements for membership and participation in the tribe.

       16. The omission of a blood quantum for participation in the Hawaiian Election

 is a racial discrimination which is not narrowly tailored to serve a compelling

 governmental interest.

       17. The establishment of this Entity without a blood quantum as a tribal entity

 for Hawaiians is a discrimination which is not narrowly tailored to serve a compelling

 governmental interest.

       18. There is no rational basis for the omission of a blood quantum for the

 Hawaiian Election and the establishment of the Entity without a blood quantum as a

                                            6

                                                                            Exhibit B, p. 006
Case 1:15-cv-00322-JMS-RLP Document 69-7 Filed 09/25/15 Page 7 of 8 PageID.473



 tribal entity for Hawaiians.

        19. The omission of a blood quantum for the Hawaiian Election and the

 establishment of this Entity without a blood quantum as a tribal entity for Hawaiians

 is contrary to law and in violation of Intervenor-Defendants’ right to Equal Protection

 guaranteed to them by the Fourteenth Amendment to the United States Constitution.

        20. The expenditure of proceeds and income from the § 5(f) trust to implement

 the formation of an illegal entity is a violation of the trust established by § 5(f) of the

 Admission Act.

        21. Intervenor-Defendants are without an adequate remedy at law.

        22. Intervenor-defendants are entitled to declaratory relief providing that

 Chapter 10H of the Hawaii Revised Statutes and the establishment of the Entity

 without a blood quantum is a violation of their Fourteenth Amendment rights to

 Equal Protection.

        23. Intervenor-Defendants are entitled to injunctive relief enjoining and

 restraining the expenditure of income and proceeds from the § 5(f) trust for the

 purpose of establishing the Entity, including the payment of attorneys’ fees for its

 defense.

        24. Intervenor-Defendants are entitled to injunctive relief enjoining and

 restraining the Hawaiian Election and the establishment of the Entity.



                                             7

                                                                               Exhibit B, p. 007
Case 1:15-cv-00322-JMS-RLP Document 69-7 Filed 09/25/15 Page 8 of 8 PageID.474



                                PRAYER FOR RELIEF

       Wherefore Intervenor-Defendants respectfully pray that this Court:

       a. Grant declaratory relief providing that Chapter 10H of the Hawaii Revised

 Statutes and the establishment of the Entity without a blood quantum is a violation

 of Intervenor-Defendants’ Fourteenth Amendment rights to Equal Protection.

       b. Grant injunctive relief enjoining and restraining the expenditure of income

 and proceeds from the § 5(f) trust for the purpose of holding the Hawaiian Election

 or otherwise establishing the Entity, including the payment of attorneys’ fees for its

 defense.

       c. Grant injunctive relief enjoining and restraining the Hawaiian Election and

 the establishment of the Entity.

       d. Award Intervenor-Defendants reasonable attorneys’ fees incurred herein,

 including litigation expenses and costs, pursuant to 42 U.S.C. § 1988;

       e. Grant such other and further relief as the Court deems just and proper.

       Dated: Honolulu, Hawaii,                     .



                                            WALTER R. SCHOETTLE,
                                            Attorney for Intervenor-Defendants,
                                            SAMUEL L. KEALOHA, JR., VIRGIL E.
                                            DAY, JOSIAH L. HOOHULI, PATRICK
                                            L. KAHAWAIOLAA and MELVIN
                                            HOOMANAWANUI


                                           8

                                                                          Exhibit B, p. 008
